orfeit Property ASE 1:22-cr-00240-AKH Document 18-1 Filed 05/05/22 Page 1 of 7
UNITED STATES DISTRICT COURT

Agreement to F

SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA
V. AGREEMENT TO FORFEIT PROPERTY
Sung Kook (Bill Hwang) CASENUMBER: CRIMINAL NO. 22¢r240
Defendant

I/we, the undersigned, acknowledge pursuant to 18 U.S.C. §3142(c) (1) (B) (xi) in consideration of the release of the
defendant that I/we and my/our personal representatives jointly and severally agree to forfeit to the United States of America the
following property:

26 Trafalgar Rd
Tenafly, NJ 07670

and there has been posted with the court the following indicia of my/our ownership of the property:
COPY OF DEED

I/we further declare under penalty of perjury that I am/we are the sole owner(s) of the property described above and
that the property described above is not subject to any lien, encumbrance, or claim of right or ownership except my/our own,
that imposed by this agreement, and those listed below:

A mortgage with Citizens Bank

and that I/we will not alienate, further encumber, or otherwise willfully impair the value of my/our interest in the property.

The conditions of this agreement are that the defendant Sung Kook (Bill) Hwang

(Name)

is to appear before this court and at such other places as the defendant may be required to appear, in accordance with any and
all orders and directions relating to the defendant’s appearance in this case, including appearance for violation of a condition of
defendant’s release as may be ordered or notified by this court or any other United States Court to which the defendant may be
held to answer or the cause transferred. The defendant is to abide by any judgment entered in such matter by surrendering to
serve any sentence imposed and obeying any order or direction in connection with such judgment.

It is agreed and understood that this is a continuing agreement (including any proceedings on appeal or review) which
shall continue until such time as the undersigned are exonerated.

If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
agreement, then this agreement is to be void, but if the defendant fails to obey or perform any of these conditions, the property
described in this agreement shall immediately be forfeited to the United States. Forfeiture under this agreement for any breach
of its conditions may be declared by any United States District Court having cognizance of the above entitled matter at the time
of such breach, and if the property is forfeited and if the forfeiture is not set aside or remitted, judgment may be entered upon
motion in such United States District Court against each debtor jointly and severally for forfeiture of the property together
with interest and costs, and execution may be issued and the property secured as provided by the Federal Rules of Criminal
Procedure and any other laws of the United States of America.

This agreement is signed on 030- foc Yrodela we Koad) Dea os Sy W209 b90

(Date) (Place) Vv
Defendant LOM KS Address 26 Trafalgar Rd, Tenafly, NJ 07670
Sung KaQdk (Bi b

Owner(s)/ Address
Obligor(s) AL Address _26 Trafalgar Rd, Tenafly, NJ 07670
Betky Hwang”
Signed and acknowledged before me on 5 [5/2 9g ee ee
eae" a Third-Party Witness
Approved:

Judge Andrew L. Carter Jr, Courtroom Deputy Clerk

Scanned with CamScanner
1% Grantee Fee Paid

W325 Q5m 00

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N E W CONS) RYICTIA N futsideraticg : 15200000
“ * fan f & a i
State Portion °° =13e4°24
County Portion 3; 5909"S
Hunicirality Portion ¢ T3553"hq
This Deed is made on July 17, 2008 12327 eed - fay Construction > 1,
q
BETWEEN Kathleen A. Donovan “ecerding Fee 90,06
Bergen County Cle:
26 TRAFALGAR ROAD, LLC Recorded Q7/31/2002 12st4

a Limited Liability Company of the State of New Jersey
having its principal office at
26 Trafalgar Road, Tenafly, NJ 07670

referred to as the Grantor,
AND

SUNG KOOK HWANG and BECKY HWANG, his wife

whose post office address is
about to be 26 Trafalgar Road, Tenafly, NJ 07670

referred to as the Grantee.
The words “Grantor” and “Grantee” shall mean all Grantors and all Grantees listed above.

1, Transfer of Ownership. The Grantor grants and conveys (transfers ownership of)
the property (called the “Property”) described below to the Grantee. This transfer is
made for the sum of ($3,525,000.00)

Three Million Five Hundred Twenty Five Thousand Dollars and No Cents

The Grantor acknowledges receipt of this money.

2. Tax Map Reference. (N.J.S.A. 46:15-1.1) Municipality of Tenafly
Block No. 2804 Lot No. 6 Qualifier No. ~-~~--~~Account No.

0 No property tax identification number is available on the date of this Deed.
(Check box if applicable.)

3. Property. The property consists of the land and all the buildings and structures on
the land in the Borough of Tenafly, County of Bergen and State of New Jersey. The
legal description is:

vi Please see attached Legal Description annexed hereto and made a part hereof. (Check box
if applicable.)

Being the same premises conveyed to Grantors herein by deed from Gerald
Taufield, married dated December 15, 2006, recorded January 10, 2007, in the
Bergen County Clerk’s Office in Deed Book 9229, Page 315.

=r

Richard’ A. Hubschman,

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1 AMOR,
«* 4

ae

TITLE INSURANCE COMMITMENT

First American
Title Insurance Company

File Number: A 7118

SCHEDULE C
LEGAL DESCRIPTION

All that certain Lot, piece or parcel of land, with the buildings and improvements thereon erected,
situate, lying and being in the Borough of Tenafly, County of Bergen State of New Jersey:

Being known and designated as Lot 10 Block 266 as shown on a certain map entitled "Section Three of
Map No. 2 of Sherwood Hills, made for Charles and Henry Costanzo at Tenafly-Bergen Co., NJ" filed in
the Office of the Bergen County Clerk on July 5, 1955 as filed map no. 4852.

Beginning at a point on the northeasterly line of Trafalgar Road at a point therein distant 200.00 feet
northwesterly from its intersection with the northwesterly line of Sunderland Road, if both were produced
to intersect, said point also being the dividing line between Lot 10 and Lot 1 as shown on the above
referenced filed map and running; thence

le North 45 degrees 03 minutes 56 seconds East, 168.01 feet to a point; thence

2. South 68 degrees 21 minutes 50 seconds East, 191.05 feet to a point on the northwesterly line of
Sunderland Road; thence

3 Along the same, on a curve to the right, having a radius of 110,00 feet an arc length 89.39 feet to
a point of tangency; thence

4. Still along the same, South 47 degrees 23 minutes West, 147.00 feet to a point of curvature;
thence

3. On acurve to the right, having a radius of 20.00 feet, an arc length of 30.90 feet to a point of
tangency on the northeasterly line of Trafalgar Road; thence

6. Along the same, North 44 degrees 06 minutes 24 seconds West, 180.51 feet to the point or place
of beginning.

For information purposes only: Being known as Lot 6 Block 2804 on the current Tax and Assessment
map in use in the Borough of Tenafly, Bergen County, New Jersey.

Accura Title, Inc.
545-547 39"" Street
Union City, NJ 07087
201-553-1770 / Fax # 201-553-1790

New Jersey [and Title NJRB 3-08
Insurance Rating Bureau leffective 2/15/2007

ALTA Plain Language Commitment 2006 6 q 5 8 h PG 0 b b FAN] 3-08

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The street address of the Property is:
26 Trafalgar Road, Tenafly, New Jersey 07670

4. Signatures. The Grantor signs this Deed as of the date at the top of the first page.

(Print name below each signature).
26 ~~ fe LLC

Ad

Alex kegekov, Managing Member

STATE OF NEW JERSEY, COUNTY OF BERGEN SS:
I CERTIFY that on July 17, 2008

ALEX KORENKOV

personally came before me and stated to my satisfaction that this person (or if more than
one, each person):

(a) was the maker of the attached Deed;

(b) was authorized to and did execute this Deed as Managing Member

of 26 Trafalgar Road, LLC, the entity named in this Deed;

(c) made this Deed for $3,525,000.00 as the full and actual consideration paid or to be
paid for the transfer of title. (Such consideration is defined in N.J.S.A. 46:15-5); and
(d) executed this Deed as the act of the entity.

RECORD AND RETURN TO:

Wayne A. Stahlmann, Esq.

198 Boulevard ae A. Hubschhfan, Jr.
Hasbrouck Heights, NJ 07604 An Attorney at Law of the State of NJ

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GIT/REP-3
(12-07)
State of New Jersey
Seller's Residency Certitication/Exemption
(C55, P.L. 2004)

(Please Print or Type)

SELLER(S) INFORMATION (see Instructions, page 2):
Name(s) 26 Trafalgar Road, LLC by Alex Korenkov, Managing Member

Current Resident Address 26 Trafalgar Road

City, Town, Post Office Tenafly State NJ Zip Code 07670
PROPERTY INFORMATION (Brief Property Description):

Block(s) 2804 Lot(s) 6 Qualifier

Street Address 26 TrafalgarRoad

City, Town, Post Office Tenafly State NJ ZipCode 07670
Seller’s Percentage of Ownership_100% Consideration $3,525,000.00 Closing DateJuly 17, 2008

SELLER’S ASSURANCES (Check the Appropriate Box) (Boxes 2 through 8 apply to NON-residents):

1, 6 I am aresident taxpayer (individual, estate or trust) of the State of New Jersey pursuant to N.J.S.A. 54A:1-1
et seq. and will file a resident gross income tax return and pay any applicable taxes on any gain or income
from the disposition of this property.

2 O The real property being sold or transferred is used exclusively as my principal residence within the meaning
of section 121 of the federal Internal Revenue Code of 1986, 26 U.S.C. s, 121.

3 O I am a mortgagor conveying the mortgaged property to a mortgagee in foreclosure or in a transfer in lieu of
foreclosure with no additional consideration.

4a O Seller, transferor or transferee is an agency or authority of the United States of America, an agency or
authority of the State of New Jersey, the Federal National Mortgage Association, the Federal Home Loan
Mortgage Corporation, the Government National Mortgage Association, or a private mortgage insurance
company.

5. Seller is not an individual, estate or trust and as such not required to make an estimated payment pursuant
to N.J.8.A.54A:5-1-1 et seq.

6. O The total consideration for the property is $1,000 or less and as such, the seller is not required to make an
estimated payment pursuant to N.J.S.A. 54A:5-1-1 et seq.

* The gain from the sale will not be recognized for Federal income tax purposes under I.R.C. Section 721,
1031, 1033 or is a cemetery plot. (CIRCLE THE APPLICABLE SECTION.) If such section does not
ultimately apply to this transaction, the seller acknowledges the obligation to file a New Jersey income tax
return for the year of the sale (see instructions).

oO No non-like kind property received.

s. O Transfer by an executor or administrator of a decedent to a devisee or heir to effect distribution of the

decedent’s estate in accordance with the provisions of the decedent’s will or the intestate laws of this state.

SELLER(S) DECLARATION:

The undersigned understands that this declaration and its contents may be disclosed or provided to the New Jersey Division
of Taxation and that any false statement contained herein could bé punished by fine, imprisonment, or both, I furthermore
declare that I have examined this declaration and, to the best knowledge and belief, it is true, correct and complete.

July 17, 2008
Date Alex Koren! Signature
jer} Please indicate if Power of Attorney or Attorney in Fact
Date Signature
(Seller) Please indicate if Power of Attorney or Attorney in Fact
1647 — Seller's Residency Certification/Exemption Powered by Printed by ALL-STATE LEGAL®
GIT/REP-3 HotDocs® A Division of ALL-STATE International, Inc.
Rev. 12/07 P2408 Cc www.aslegal.com 800.222.0510 Pagel

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MUST SUBMIT IN DUPLICATE Printed by ALL-STATE LEGAL®
NC1645 - Affidavit of Consideration www.aslegal.com 800.222.0510 Page 1

RTF-1 (Rev. 2/19/07) P3/07 STATE OF NEW JERSEY

AFFIDAVIT OF CONSIDERATION FOR USE BY SELLER
(Chapter 49, P.L. 1968, as amended through Chapter 83, P.L. 2006) (N.J.S.A. 46:15-5 et seq.)
BEFORE COMPLETING THIS AFFIDAVIT, PLEASE READ THE INSTRUCTIONS ON THE REVERSE SIDE OF THIS FORM.

STATE OF NEW JERSEY } County Municipal Code sD eae ae ee Oe
COUNTY OF BERGEN . 0261 .
Municipality of Property Location: Tenafly

RTF paid by seller $ _"
Date 9 Jas) By my \

t Use symbol “C” to indicate that fee is exclusively for county use.

(1) PARTY OR LEGAL REPRESENTATIVE (See Instructions $ and 4 attached)

Deponent, Alex Korenkov ; being duly sworn according to law upon his/her cath deposes
{Name)
and says that he/she is the Managing Member ina deed dated 7/17/08
(Grantor, Grantes, Legal Representative, Corporate Officer, Officer of Title Co., Lending Institution, ete.)
transferring real property identified as Block No. 2804 Lot No, 6 located at
26 Trafalgar Road, Tenafly, NJ 07670 and annexed thereto.
(Street Address, Town}
(2) CONSIDERATION: $ 3,525,000.00 (See Instructions 1 and 5)

(3) Property transferredisClass 4A 4B 4C (circle one). If Class 4A, calculation in Section 3A is required.
(8A) REQUIR OF EQUA D ‘

i D A Lt\ i
PROPERTY TRA NSACTIONS: (see Instructions 5A and 7)
Total Assessed Valuation + Director's Ratio = Equalized Assessed Valuation
$ + %=s
If Director's Ratio is less than 100%, the equalized valuation will be an amount greater than the assessed value. If Director’s Ratio is equal to or in excess
of 100%, the assessed value will be equal to the equalized value.

(4) FULL EXEMPTION FROM FEE: (see Instruction 8)

Deponent states that this deed transaction is fully exempt from the Realty Transfer Fee imposed by C, 49, P.L. 1968,
as amended through C. 66, P.L. 2004, for the following reason(s). Mere reference to the exemption symbol is insufficient.
Explain in detail.

(6) PARTIAL EXEMPTION FROM FEE: (see Instruction 9) NOTE: All boxes below apply to grantor(s) only,
ALL BOXES IN APPROPRIATE CATEGORY MUST BE CHECKED. Failure to do so will void claim for partial exemption.
Deponent claims that this deed transaction is exempt from the State's portion of the Basic Fee, Supplemental Fee
and General Purpose Fee, as applicable, imposed by C. 176, P.L. 1975; C. 113, P.L. 2004 and C. 66, P.L. 2004 for the

following reason(s):

A. SENIOR CITIZEN (see Instruction 9)

(_] Grantor(s) 62 years of age or over,* [_] Owned and occupied by grantor(s) at time of sale.
[_] One- or two-family residential premises. [_] Owners as joint tenants must all qualify.
[_] Resident of the State of New Jersey.
B. BLIND (see Instruction 9) DISABLED (see Instruction 9)
[_] Grantor(s) legally blind.* [_] Grantor(s) permanently and totally disabled.*
Cc] One- or two-family residential premises. Cc] Receiving disability payments.*
CT] Owned and occupied by grantor(s) at time of sale, [-] Not gainfully employed.*
ry Owners as joint tenants must all qualify. Cl] One- or two-family residential premises.
Cc] Resident of the State of New Jersey. oO Owned and occupied by grantor(s) at time of sale.

* IN THE CASE OF HUSBAND AND WIFE/CIVIL UNION [~] Owners as joint tenants must all qualify.
PARTNERS, ONLY ONE GRANTOR NEEDS TO QUALIFY IF (dank ot th
OWNED AS TENANTS BY THE ENTIRETY. [_] Resident of the State of New Jersey.

C. LOW AND MODERATE INCOME HOUSING (see Instruction 9)

[] Affordable according to HUD standards. [_] Reserved for oceupancy.
[_] Meets income requirements of region. [_] Subject to resale controls.
(6) NEW CONSTRUCTION (see Instructions 2, 10 and 12)
[X] Entirely new improvement. [X] Not previously occupied.
[X] Not previously used for any purpose. “NEW CONSTRUCTION?” printed clearly at the top of
the first page of the deed.

(7) Deponent makes this Affidavit to induce the County Clerk or Register of Deeds to record the deed and accept the fee
submitted herewith in accordance with the provisions of Chapter 49, P.L. 1968, as amended through Chapter 33, P.L. 2006.

Alex Korenkov

Subscribed and sworn to a me
this Seventeent! ¥ Signature of Deponent Grantor Nama
day of uly 29 08 26 Trafalgar Road 26 Trafalgar Road
\ / — Tenafly, NJ 07670 Tenafly, NJ 07670
Deponent Address Grantor Address at Time of Sale
Notary Public fy
Richard A. HubschmprrJr. XXX-XX-X_f) 2 |
’ Last 3 digits in Grantor's Social Security No. Name/Company of Settlement Officer
iP:
This form is prescribed by the Director, Division of Taxation in
the Department of the Treasury, as required by ew; and aad FOR OFFICIAL USE ONLY
not be altered or amended without the prior approval of the | !nstrument Number County
Director. For information on the Realty Transfer Fee or to print | Deed Number Book Page
a copy of this Affidavit, visit Lhe Division of Taxation website at Deed Dated Date Recorded
www state.nj.us/treasury/t. fon/ipt/localtax.htm

County Recording Officers shall forward one copy of each Affidavit of Consideration for Use by Seller when Section 8A is completed.
State of New Jersey — Division of Taxation, P.O. Box 251, Trenton, NJ 08695-0251, Attention: Realty Transfer Fee Unit

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RIF-1EE (Rev. 2/19/07) STATE OF NEW JERSEY
MUST SUBMIT IN DUPLICATE AFFIDAVIT OF CONSIDERATION FOR USE BY BUYER
(Chapter 49, P.L.1988, as amended through Chapter 33, P.L. 2006) (N.J.8.A. 46:15-5 at seq.)
THIS AFFIDAVIT, PLEASE READ THE INSTRUCTIONS ON THE REVERSE SIDE OF THIS FORM"

cere DET ORE COE
STATE OF NEW JERSEY

FOR RECORDER'S USE ONLY

}ss eats . DAN
. County Code | Consideration $ >

conn gees) “Sale | Bw 2

MUNICIPALITY OF PROPERTY LOCATION “Tews OL4

(1) PARTY OR LEGAL REPRESENTATIVE (See Instructions #3 and #4 on reverse side) _—____ 0X XX-K AL
‘Grantee's Social Number
Deponent, Wrst STRLMANSN oh being duly swom according to law upon his/her cath,

(Nama)
deposes and says that oa is the USO4L.2EPRESEST in a deed dated STU (1,29 Fansferting
(Grantee, Legal Representative, Corporate Officer, Officar of Title Company, Lending institution, etc.)

real property identified as Block number _cd 804 Lot number __ to located at
dle TRAFALGSR, P5A0, THAN and annexed _— thereto.
{Street Address, Town) .
(@) CONSIDERATION $_3, S25 cee. 6S (See Insivuctions #7, #5, and #11 on roverse site)

Entire consideration is In excess of $1,000,000:

PROPERTY CLASSIFICATION CHECKED BELOW SHOULD BE TAKEN FROM THE OFFICIAL TAX LIST (A PUBLIC RECORD)
OF THE MUNICIPALITY WHERE THE REAL PROPERTY IS LOCATED IN THE YEAR THAT THE TRANSFER IS MADE.

{A) When Grantee Is required to remit the 1% fee, complete below:

Class 2 - Residential f Class 4A — Commercial Properties
Class 3A - Farm property (Regular) and any (if checked, calculation on (C) required below)
other real property transferred to same grantee [ Glass 4C - Residential Cooperative Unit
In conjunction with transfer of Class 3A property (4 Families or less)
(B) When Grantee is not required to remit the 1% fee, complete below:
rr Property class. Circle applicable class(es): 41 4B 4c 15
. Property classes: 1-Vacant Land, 43- i ties, 4C- (other than unit), 15-Public Property

Exempt Organization pursuant to federal internal Revenue Code of 1986
i. Incidental to corporate merger or acquisition and equalized assessed valuation less than 20% of total value of

all assets exchanged in merger or acquisition (If checked, calculation in (C) below required and MUST ATTACH
COMPLETED RTF-4)

A
(C) REQUIRED CALCULATION OF EQUALIZED ASSESSED VALUATION FOR ALL CLASS 4A COMMERCIAL
PROPERTY TRANSACTIONS: (See Instructions #6 and #7 on reverse side)
Totat Assessed Valuation + Director's Ratio = Equalized Valuation

§ + = §,
if Director's Ratio is less than 100%, the eq fuation will be an greater than the assessed valuation. If Director's Ratio
is equal to or in excass of 100%, the assessed valuation will be equal to the equalized value.

(3) TOTAL EXEMPTION FROM FEE (See Instruction #8 on reverse side)
Deponent states that this deed transaction is fully exempt from the Realty Transter Fee imposed by C, 49, P.L, 1968, as amended
through C. 68, P.L. 2004, for the following reason(s). Mere reference to exemption symbol is insufficient. Explain in detail.

{4 Deponent makes Affidavit of Consideration for Use by Buyer to induce county clerk or register js ta
accept the fee submitted herewith pursuant to the prayisions of Chay 9, P.L, 1968, as amended through Chapter 33, P.L. 2006.

Svinte Kook pwaety

Subscribed and sworn to before me

this T] dot Pim =. OF ‘Yo 2
(tie SOReve TERA | I
Deponent Addrass Grantee Address at Time of Sale
WSS SRW MAH, £58,
of
a CHRISTINE A. LAFASO FOR OFFICIAL USE ONLY
A NOTARY PUBLIC OF NEW JERSEY Deed Nrber eae
MY COMMISSION EXPIRES 08/24/2010 Deed Dated Oe Recorded

County Recording Officers shall farward one copy of each Affidavit of Consideration for Usa by Buyer recorded with deeds to:
STATE OF NEW JERSEY- DIVISION OF TAXATION
PO BOX 261
TRENTON, NJ 08695-0257
ATTENTION: REALTY TRANSFER FEE UNIT
The Director of the Division of Taxation in the Department of the Treasury has prescribed this form as required by law, and it may nat be altered or amended
without prior approval of the Director. For further information on the Really Transfer Fee or to print a copy of this Affidavit, visit the Division of Taxation website at

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END OF DOCUMENT
